      Case 1:25-cv-10814-WGY             Document 103         Filed 05/07/25      Page 1 of 1


                 THE COMMONWEALTH OF MASSACHUSETTS
                    OFFICE OF THE ATTORNEY GENERAL
                                         ONE ASHBURTON PLACE
                                      BOSTON, MASSACHUSETTS 02108
                                                                                 (617) 727-2200
                                                                                www.mass.gov/ago


May 7, 2025

Hon. William G. Young
John Joseph Moakley U.S. Courthouse
One Courthouse Way
Boston, MA 02210

Re: Commonwealth of Massachusetts v. Robert F. Kennedy, Jr. (No. 25-cv-10814-WGY)
    Supplemental Authority in Support of Plaintiffs’ Preliminary-Injunction Motion

Judge Young:

I write on plaintiffs’ behalf to apprise the Court of the decision in Rhode Island v. Trump, No.
1:25-cv-128-JJM-LDA, 2025 WL 1303868 (D.R.I. May 6, 2025), a copy of which is attached as
Exhibit A to this letter. That decision, which granted 21 states’ motion to enjoin federal agencies
from implementing Executive Order 14238, is pertinent to at least three issues that plaintiffs
addressed in their reply brief (ECF No. 101, filed the day before the Rhode Island decision issued).

First, the Rhode Island decision held that neither the Tucker Act nor the Supreme Court’s recent
order in Department of Education v. California divested the court of jurisdiction to hear the 21
plaintiff states’ APA claims. Ex. A, at 14–18; cf. ECF No. 101, at 2–4.

Second, the court held that the plaintiff states’ challenge to the “adoption of a discrete, categorical
policy” was not an impermissible “programmatic challenge” of the kind at issue in Lujan v.
National Wildlife Federation. Ex. A, at 21–22; cf. ECF No. 101, at 5–6.

Third, the court held that the plaintiff states had challenged a final agency action within the
meaning of the APA because the challenged policies consummated the agency’s decisionmaking
and carried legal consequences. Ex. A, at 22–25; cf. ECF No. 101, at 6–8.

Sincerely,

/s/ Gerard J. Cedrone
Deputy State Solicitor
(617) 963-2282
gerard.cedrone@mass.gov

cc: all counsel of record (via ECF)
